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      EXHIBIT A
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                                                                               Electronically Filed
                                                                               3/4/2022 5:13 PM
                                                                               Steven D. Grierson
                                                                               CLERK OF THE COURT
 1
      COMP
 2    John A. Kawai
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 4    c/o Nia Killebrew                                                            Department 24
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10

11                                            DISTRICT COURT
                                        CLARK COUNTY, NEVADA
12

13
       JUSTIN FUENTES; CYNTHIA FUENTES;
14     and ALEX MENDOZA,                                          Case No.:
15                                                                Dept. No.:
                       Plaintiffs,
16
                 vs.                                      COMPLAINT
17
       PORTIER, LLC; PHUONG MINH DUONG;
18
       DOES I through V; and BUSINESS
19     ENTITIES I through V,
       inclusive,
20
                       Defendants.
21

22                                               COMPLAINT

23           COME NOW, Plaintiffs, JUSTIN FUENTES; CYNTHIA FUENTES; and ALEX

24    MENDOZA, by and through their attorneys of record, John A. Kawai, and as for their Complaint

25    against Defendants above-named, and each of them, and for their cause of action allege as

26    follows:

27
      ///
28
                                                          1
                                     COMPLAINT; DEMAND FOR JURY TRIAL

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 1                                                      I.

 2                                  JURISDICTIONAL ALLEGATIONS

 3
 4           1.      That at all times relevant to this action, Plaintiffs, JUSTIN FUENTES;

 5    CYNTHIA FUENTES; and ALEX MENDOZA (hereinafter “Plaintiffs”), were and are residents
      of the State of California.
 6
             2.      That upon information and belief, and at all times relevant to this action,
 7
      Defendants PORTIER, LLC and PHUONG MINH DUONG were and are residents of the State
 8
      of Nevada.
 9
             3.      That Defendants, DOES I through V and ROE BUSINESS ENTITIES VI through
10
      X, are sued herein by their fictitious names for the reason that their respective true names are
11
      unknown to Plaintiff at this time. When their true names are ascertained, Plaintiff will ask leave
12
      of this court to insert their true names herein, in the place and stead of their fictitious names.
13
      That at all times mentioned herein, each of the Defendants was the agent, employee, servant or
14    corporate employer of the other and acting within the scope and purpose of said agency,
15    employment, service or corporate activity. Plaintiff is informed and believes, and thereon alleges,
16    that each of the Defendants designated herein as a DOE or ROE BUSINESS ENTITY is
17    negligently or otherwise responsible in some manner for the acts, events, circumstances, and
18    happenings complained of herein, and actually and proximately thereby caused Plaintiff to suffer
19    the expenses and damages herein below alleged. Further, Plaintiff alleges that each of the

20    Defendants was an owner, operator, lessor, lessee, or some other entity interested in the

21    operation and maintenance of Defendant’s vehicle at all relevant times to this action.

22
                                                        II.
23
                                         FIRST CAUSE OF ACTION
24
                                     (Negligence and Negligence Per Se)
25
26
             4.      Plaintiffs repeat and reallege each and every allegation contained in the preceding
27
      paragraphs of this Complaint as though the same were fully set forth at length herein.
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                                                         2
                                     COMPLAINT; DEMAND FOR JURY TRIAL
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 1            5.      That on or about March 23, 2020, in the State of Nevada, County of Clark, at the

 2    intersection of Raphael Rivera Way and Durango, Las Vegas, a vehicle owned, leased, inspected,

 3    repaired, maintained, managed, operated, and/or controlled by Defendants ran a red light and

 4    struck a vehicle occupied by Plaintiffs Justin Fuentes and Alex Mendoza.

 5            6.      That Defendant Phuong, while in the course and scope of his agency and/or
      employment with Defendant Portier, LLC, did operate a motor vehicle in such a negligent,
 6
      reckless and careless manner, failing to use due care and failing to heed a red light, that he
 7
      caused Defendant’s vehicle to collide with the vehicle occupied by Plaintiffs Justin Fuentes and
 8
      Alex Mendoza, further causing Plaintiffs to suffer such serious and permanent injuries as are
 9
      hereinafter more fully described.
10
              7.      That at all times relevant to this action, Defendant Phuong was driving
11
      Defendant’s vehicle in the course and scope of his employment with Defendants Portier, LLC
12
      and DOES and ROE BUSINESS ENTITIES.
13
              8.      That the aforesaid collision was solely caused by the negligent, careless and gross,
14    wanton and reckless conduct of Defendant Phuong and in no way was due to any negligent act or
15    failure to act on the part of Plaintiffs.
16            9.      That the negligent conduct, careless conduct and gross, wanton and reckless
17    conduct of Defendant Phuong included, but is not limited to, the following:
18            a.      failure to properly observe the roadway;
19            b.      failure to properly observe traffic controls, including but not limited to a red light;

20            c.      failure to yield to another vehicle that had the right of way;

21            d.      operating his vehicle without due regard for the rights, safety and position of

22                    Plaintiffs, lawfully on the roadway;
              e.      operating his vehicle so as to bring it into sudden, forcible contact with the
23
                      vehicle occupied by Plaintiffs;
24
              f.      failure to give warning of his approach;
25
              g.      failure to maneuver his vehicle so as to avoid a collision;
26
              h.      failure to maintain adequate control over his vehicle;
27
              i.      failure to obey the rules of the road, the statutes of the State of Nevada and the
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                                                         3
                                      COMPLAINT; DEMAND FOR JURY TRIAL
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 1                    ordinances/codes of Clark County, in and about operating his vehicle on the

 2                    highways and roadways of the State of Nevada; and

 3            j.      specifically, inter alia, failure to obey a red light in violation of N.R.S. 484B.307.

 4            10.     That as a direct and proximate result of the above-stated acts and omissions of

 5    Defendants, and each of them, Plaintiffs Justin Fuentes and Alex Mendoza sustained severe
      bodily injury, and Plaintiff Cynthia Fuentes, at all times the lawful spouse of Justin Fuentes,
 6
      sustained loss of spousal consortium.
 7
              11.     That said injuries are permanent and lasting in nature and that Plaintiffs suffered
 8
      great pain, suffering and anxiety, and will continue to do so in the future.
 9
              12.     That as a direct and proximate result of the above-stated acts and omissions of
10
      Defendants, and each of them, Plaintiffs were prevented from attending and participating in their
11
      usual activities.
12
              13.     That as a direct and proximate result of the above-stated acts and omissions of
13
      Defendants, and each of them, Plaintiffs were required to seek and undergo medical treatment,
14    including, but not limited to, treatment by physicians, physical therapy and the taking of
15    prescribed medications.
16            14.     That as a direct and proximate result of the above-stated acts and omissions of
17    Defendants, and each of them, Plaintiffs have incurred, reasonable and necessary medical
18    expenses related to injuries they sustained in the subject motor vehicle accident.
19            15.     That as a direct and proximate result of the above-stated acts and omissions of

20    Defendants, and each of them, Plaintiffs will reasonably require future medical treatment and

21    care.

22            16.     That as a direct and proximate result of the above-stated acts and omissions of
      Defendants, and each of them, Plaintiffs lost wages from their employment for a period of time,
23
      thereby causing Plaintiffs to lose income, and that Plaintiffs may in the future lose additional
24
      income in an amount to be determined at trial.
25
              17.     That Plaintiffs have been required to obtain the services of an attorney in order to
26
      prosecute this action, and that they are entitled to recover reasonable attorney's fees plus costs of
27
      suit.
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                                    COMPLAINT; DEMAND FOR JURY TRIAL
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 1                                                     III.

 2                                 SECOND CAUSE OF ACTION
        (Negligent Entrustment as to Defendants PORTIER, LLC; DOES and ROE BUSINESS
 3                                          ENTITIES)
 4
             18.     Plaintiff repeats and realleges each and every allegation contained in the
 5
      preceding paragraphs of this Complaint as though the same were fully set forth at length herein.
 6
             19.     That Defendants PORTIER, LLC; DOES and ROE BUSINESS ENTITIES
 7
      entrusted Defendant’s vehicle to Defendant Duong.
 8
             20.     That Defendants PORTIER, LLC; DOES and ROE BUSINESS ENTITIES either
 9
      knew, or should have known, that such entrustment to Defendant Duong was negligent.
10
             21.     That as a direct and proximate result of Defendant PORTIER, LLC; DOES and
11    ROE BUSINESS ENTITIES’ negligent entrustment of Defendant’s vehicle, Plaintiffs sustained
12    damages for which PORTIER, LLC; DOES and ROE BUSINESS ENTITIES are now liable.
13           22.     That Plaintiffs have been required to obtain the services of an attorney in order to
14    prosecute this action, and they are entitled to recover reasonable attorney's fees plus costs of suit.
15
16                                                     IV.

17                                      THIRD CAUSE OF ACTION

18              (Respondent Superior as to PORTIER, LLC and ROE BUSINESS ENTITIES)

19
             23.     Plaintiffs repeat and reallege each and every allegation contained in the preceding
20
      paragraphs of this Complaint as though the same were fully set forth at length herein.
21
             24.     That upon information and belief and at all times herein mentioned, Defendant
22
      Duong, was an agent, servant and/or employee of Portier, LLC and/or Roe Business Entities, and
23
      at all times herein mentioned, was acting within the course and scope of said employment and
24
      agency, and was driving Defendant’s motor vehicle with the knowledge, permission and consent
25
      of Portier, LLC and/or Roe Business Entities.
26
             25.     That upon information and belief and at all times mentioned herein, Defendant’s
27
      motor vehicle being driven by Defendant Duong, was owned, operated and/or leased by Portier,
28    LLC and/or Roe Business Entities.
                                                         5
                                    COMPLAINT; DEMAND FOR JURY TRIAL
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 1            26.    That Defendant Portier, LLC and/or Roe Business Entities are vicariously liable

 2    and/or jointly and severally liable for the negligence of Defendant Duong, under the doctrine of

 3    respondent superior, which directly and proximately resulted in Plaintiffs’ aforesaid damages.

 4            27.    That Plaintiffs have been required to obtain the services of an attorney in order to

 5    prosecute this action, and that they are entitled to recover reasonable attorney's fees plus costs of
      suit.
 6
 7
                                                       V.
 8
                                      FOURTH CAUSE OF ACTION
 9
       (Negligent Training, Hiring and Supervision as to PORTIER, LLC and ROE BUSINESS
10
                                                  ENTITIES)
11
12
              28.    Plaintiffs repeat and reallege each and every allegation contained in the preceding
13
      paragraphs of this Complaint as though the same were fully set forth at length herein.
14            29.    That, upon information and belief, Portier, LLC and/or Roe Business Entities
15    were negligent in the hiring, training, retention and supervision of their respective agents,
16    servants, and/or employees, specifically, Defendant Duong, so as to directly and proximately
17    cause Plaintiffs’ damages and are thus liable for said damages.
18            30.    That Plaintiffs have been required to obtain the services of an attorney in order to
19    prosecute this action, and that they are entitled to recover reasonable attorney’s fees and costs of

20    suit.

21
22                                                     VI.
                                           PRAYER FOR RELIEF
23
24
              WHEREFORE, Plaintiffs expressly reserving the right to amend this Complaint at the
25
      time of trial of the action to include all items of damage not yet ascertained and for any causes of
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      action which discovery may so provide, demands judgment against Defendants, and each of
27
      them, as follows:
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                                                         6
                                    COMPLAINT; DEMAND FOR JURY TRIAL
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 1         1.     For a sum in excess of $15,000 as and for past and future medical expenses and

 2                wage loss;

 3         2.     For a sum in excess of $15,000 as and for general damages for pain, suffering,

 4                mental distress, anguish and fear;

 5         3.     For reasonable attorney's fees plus costs of suit;
           4.     For such other and further relief as the Court may deem just and proper in the
 6
                  premises.
 7
 8

 9      DATED this 2nd day of March, 2022.

10
                                     TRIAL LAWYERS FOR JUSTICE
11
12                                   ____________________________________
                                     John A. Kawai Esq. (SBN 14893)
13                                   Attorney for Plaintiffs
                                     Physical address:
14
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17                                   San Francisco, CA 94104-5401
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                                COMPLAINT; DEMAND FOR JURY TRIAL
